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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     LEE MORGAN,                              : Civ. No. 3:23-CV-1635
                                              :
          Plaintiff,                          :
                                              :
                v.                            : (Chief Magistrate Judge Bloom)
                                              :
     THE CITY OF SCRANTON, et al.,            :
                                              :
          Defendants.                         :

                            MEMORANDUM OPINION

I.     Introduction

          Pending before the court is a motion for judgment on the pleadings

     filed by one of the defendants, Lackawanna County. (Doc. 38). The

     plaintiff, Lee Morgan, brought this action pursuant to 42 U.S.C. § 1983

     alleging violations of his rights under the First, Fifth, and Fourteenth

     Amendments to the United States Constitution. (Doc. 35 ¶ 7). Morgan

     alleges that his public access TV show was cancelled in violation of his

     rights because of his political ideology, and that the public access channel

     Electric City Television (“ECTV”) is controlled by Lackawanna County

     and City of Scranton officials, who cancelled his show and “removed” his

     content. (See generally, Doc. 35).



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           Lackawanna County has moved for judgment on the pleadings,

      arguing the complaint fails to properly allege any actionable claims

      against it. After Morgan failed to respond to the motion, we ordered him

      to respond by September 30, 2024, and he failed to file any response.

      (Doc. 44). Accordingly, we will deem the motion unopposed, and after

      consideration, we will grant the motion for judgment on the pleadings.

II.     Background

           Morgan’s amended complaint alleges that he was the host of a show

      called “Voice of The People,” which aired on ECTV. (Doc. 35 ¶ 11).

      Morgan claims he hosted Frank Scavo on the show at some unknown date

      to discuss the Capitol riots of January 6, 2021. (Id. ¶ 27). Morgan alleges

      that after this airing, “‘someone’ in Lackawanna County government was

      ‘not happy’ with [the show].” (Id. ¶ 30). Morgan avers that he knows who

      this “someone” is but does not identify the individual. (Id. ¶ 31). He

      claims that this unhappiness triggered a series of actions by unnamed

      persons to make his show “so difficult to produce that he would cease

      operations.” (Id. ¶ 34). Specifically, he alleges this was done by some

      unnamed person changing the backdrop of Morgan’s show from a

      “visually pleasing” one to a “dim, difficult to view background.” (Id. ¶ 35).


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This change apparently was not experienced by “other shows.” (Id.).

Shortly thereafter, Morgan alleges that his videos were “removed from

the content host” and he was advised that his show would no longer air.

(Id. ¶ 36). He argues this amounts to a violation of his due process rights.

(Id. ¶ 39).

        Morgan filed suit against Lackawanna County, the City of

Scranton, the Mayor of Scranton, Paige Cognetti, and ECTV. (Doc. 35 ¶¶

2-5).     He alleges that Lackawanna County is responsible for his

treatment at/by ECTV, because Lackawanna County “retained control

over ECTV Network content through its board of commissioners” (Id. ¶

19). Morgan’s suit alleges three claims, one for violation of his First

Amendment rights (Id. ¶¶ 41-45), a second in violation of his Fourteenth

Amendment right to equal protection of the laws (Id. ¶¶ 46-52), and a

third in violation of his Fourteenth Amendment right to due process of

law. (Id. ¶¶ 53-57).

        Defendant Cognetti filed a motion to dismiss the case for, inter alia,

failure to state a claim upon which relief could be granted. (Doc. 8).

Thereafter, Morgan filed an amended complaint. (Doc. 35).                      After

answering the amended complaint, on July 23, 2024, Lackawanna


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       County moved for judgment on the pleadings pursuant to Federal Rule

       of Civil Procedure 12(c). (Doc. 38). Morgan never filed a response to this

       motion, despite being granted an extension of time in which to do so.

       Accordingly, Lackawanna County filed a reply brief, requesting that this

       court consider its motion unopposed, and further, asking us to dismiss

       the action under Rule 41(b) due to Morgan’s failure to prosecute his case.

       (Doc. 47).

            After consideration, we will deem Lackawanna County’s motion

       unopposed and grant the defendant’s request to dismiss the claims

       against it under Rule 41(b) for failure to prosecute.

III.     Discussion

         A. Under this Court’s Local Rules, the Motion should be Deemed
            Unopposed and Granted.

            The Local Rules of this court provide that a party opposing a motion

       for judgment on the pleadings must respond to the motion and “file a brief

       in opposition within fourteen (14) days after service of the movant’s

       brief . . .” Local Rule 7.6. Rule 7.6 further admonishes that “[a]ny party

       who fails to comply with this rule shall be deemed not to oppose such

       motion.” Id. Courts may grant a motion for judgment on the pleadings

       under Rule 7.6 if a party “fail[s] to respond to the motions and the time
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for responding has now passed.” Sanchez v. Litz, 2021 WL 5176262, at *1

(M.D. Pa. Nov. 3, 2021).

     In this case, the plaintiff has failed to comply with Rule 7.6 and this

court’s Standing Practice Order because he has not filed a timely

response to the instant motion. This procedural default compels us to

consider “a basic truth: we must remain mindful of the fact that ‘the

Federal Rules are meant to be applied in such a way as to promote

justice.’” Lease v. Fishel, 712 F. Supp. 2d 359, 371 (M.D. Pa. 2010)

(quoting McCurdy v. American Bd. of Plastic Surgery, 157 F.3d 191, 197

(3d Cir. 1998)). Thus, we must ensure that a party’s failure to comply

with the rules does not prejudice those parties who follow the rules.

     Here, because the plaintiff has failed to respond to the motion,

under Rule 7.6 we will now deem the motion unopposed.

  B. Dismissal Under Rule 41 is Warranted.

     Rule 41(b) of the Federal Rules of Civil Procedure permits a court

to dismiss a civil action for failure to prosecute or to comply with the

Federal Rules or court orders. Fed. R. Civ. P. 41(b). Dismissal under this

rule rests with the discretion of the court and will not be disturbed absent

an abuse of discretion. Emerson v. Thiel College, 296 F.3d 184, 190 (3d


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Cir. 2002) (citations omitted). The court’s discretion is governed by what

are commonly referred to as the Poulis factors:

     To determine whether the District Court abused its discretion
     [in dismissing a case for failure to prosecute], we evaluate its
     balancing of the following factors: (1) the extent of the party’s
     personal responsibility; (2) the prejudice to the adversary
     caused by the failure to meet scheduling orders and respond
     to discovery; (3) a history of dilatoriness; (4) whether the
     conduct of the party or the attorney was willful or in bad faith;
     (5) the effectiveness of sanctions other than dismissal, which
     entails an analysis of alternative sanctions; and (6) the
     meritoriousness of the claim or defense.

Emerson, 296 F.3d at 190 (citing Poulis v. State Farm Fire and Cas. Co.,

747 F.2d 863, 868 (3d Cir. 1984)).

     In making this determination, “no single Poulis factor is

dispositive.” Ware v. Rodale Press, Inc., 322 F.3d 218, 222 (3d Cir. 2003).

Moreover, “not all of the Poulis factors need be satisfied” to dismiss a

complaint for failure to prosecute. Mindek v. Rigatti, 964 F.2d 1369, 1373

(3d Cir. 1992). As the Court of Appeals has explained, “[i]n balancing the

Poulis factors, [courts] do not [employ] a . . . ‘mechanical calculation’ to

determine whether a District Court abused its discretion in dismissing a

plaintiff’s case.” Briscoe v. Klaus, 538 F.3d 252, 263 (3d Cir. 2008)

(quoting Mindek, 964 F.2d at 1373).



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     In this case, an analysis of the Poulis factors leads us to conclude

the case should be dismissed.       Consideration of the first factor—the

party’s personal responsibility—indicates that the delays are entirely

attributable to the plaintiff, who has failed to abide by court orders and

respond to the instant motion.

     The second factor—prejudice to the adversary—also weighs heavily

in favor of dismissal. This factor is entitled to great weight, since the

Third Circuit has explained:

     “Evidence of prejudice to an adversary would bear substantial
     weight in support of a dismissal or default judgment.” Adams
     v. Trustees of New Jersey Brewery Employees’ Pension Trust
     Fund, 29 F.3d 863, 873-74 (3d Cir. 1994) (internal quotation
     marks and citation omitted). Generally, prejudice includes
     “the irretrievable loss of evidence, the inevitable dimming of
     witnesses’ memories, or the excessive and possibly
     irremediable burdens or costs imposed on the opposing party.”
     Id. at 874 (internal quotation marks and citations
     omitted). . . . . However, prejudice is not limited to
     “irremediable” or “irreparable” harm. Id.; see also Ware v.
     Rodale Press, Inc., 322 F.3d 218, 222 (3d Cir. 2003); Curtis T.
     Bedwell & Sons, Inc. v. Int’l Fidelity Ins. Co., 843 F.2d 683,
     693-94 (3d Cir. 1988). It also includes “the burden imposed by
     impeding a party’s ability to prepare effectively a full and
     complete trial strategy.” Ware, 322 F.3d at 222.

Briscoe, 538 F.3d at 259-60. Here, the defendant is plainly prejudiced by

the plaintiff’s failure to comply with court orders or litigate this case, and

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we find that this factor weighs in favor of dismissal. See e.g., Tillio v.

Mendelsohn, 256 F. App’x 509 (3d Cir. 2007) (failure to timely serve

pleadings compels dismissal); Reshard v. Lankenau Hospital, 256 F.

App’x 506 (3d Cir. 2007) (failure to comply with discovery compels

dismissal); Azubuko v. Bell National Organization, 243 F. App’x 728 (3d

Cir. 2007) (failure to file amended complaint prejudices defense and

compels dismissal).

     Considering the history of dilatoriness on the plaintiff’s part,

dismissal is appropriate. As the Third Circuit has stated, “[e]xtensive or

repeated delay or delinquency constitutes a history of dilatoriness, such

as consistent non-response . . . , or consistent tardiness in complying with

court orders.” Briscoe, 538 F.3d at 260-61 (quoting Adams v. Trustees of

New Jersey Brewery Employees’ Pension Trust Fund, 29 F.3d 863, 874

(3d Cir. 1994)) (quotations and some citations omitted). In the instant

case, the delay is extensive. On September 16, 2024, this court ordered

the plaintiff to respond on or before September 30, 2024. The plaintiff

has failed to respond to the motion, and further, has not requested an

extension of time or otherwise explained his failure to prosecute this case.




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     We further conclude that the fourth factor—whether the conduct of

the party was willful or in bad faith—weighs in favor of dismissal. With

respect to this factor, we must assess whether the party’s conduct is

willful, in that it involved “strategic,” “intentional or self-serving

behavior,” or a product of mere inadvertence or negligence. Adams, 29

F.3d at 875. Here, where the plaintiff has failed to comply with our

instructions directing him to act, we are compelled to conclude that these

actions are not inadvertent but reflect an intentional disregard for our

instructions and for this case.

     The fifth factor—the effectiveness of lesser sanctions—also cuts

against the plaintiff in this case. Cases construing Poulis agree that when

confronted with a pro se litigant who refuses to comply with court orders,

lesser sanctions may not be an effective alternative. See e.g., Briscoe, 538

F.3d at 262-63; Emerson, 296 F.3d at 191. Here, by entering our prior

orders and advising the plaintiff of his obligations, we have tried lesser

sanctions, to no avail. Accordingly, dismissal is the only available

sanction remaining.

      Finally, we are cautioned to consider the meritoriousness of the

plaintiff’s claim. However, we find that consideration of this factor cannot


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      save the plaintiff’s claims, as he has been wholly noncompliant with his

      obligations as a litigant. The plaintiff may not refuse to address the

      merits of his claims and then assert the untested merits as grounds for

      denying a motion to dismiss his claims. As we have explained, no one

      Poulis factor is dispositive, and not all factors must be satisfied for the

      case to be dismissed. See Ware, 322 F.3d at 222; Mindek, 964 F.2d at

      1373. Accordingly, in our view, the untested merits of the plaintiff’s

      claims, standing alone, cannot prevent the dismissal of those claims.

           For all those reasons, we will grant Lackawanna County’s

      uncontested motion for judgment on the pleadings and dismiss the claims

      against this defendant with prejudice pursuant to Rule 41(b).

IV.     Conclusion

           For the foregoing reasons, the defendant’s unopposed motion for

      judgment on the pleadings will be GRANTED, and Morgan’s claims as

      to Lackawanna County will be DISMISSED WITH PREJUDICE.

           An appropriate order follows.
                                        s/ Daryl F. Bloom
                                        Daryl F. Bloom
                                        Chief United States Magistrate Judge

      Dated: December 4, 2024

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